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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


 IN THE MATIER OF THE SEARCH OF
 INFORMATION AS SOCIA TED W ITH FACE BOOK
                                                    Case No. 20-141M
 USER ID 100004259551006 THAT IS STORED
 AT PREMISES CONTROLLED BY FACEBOOK
 INC.
                                                    Filed Under Seal




                MOTION AND ORDER TO UNSEAL SEARCH WARRANT,
               APPLICATION, AND AFFIDAVIT FOR SEARCH WARRANT

       NOW COMES the United States of America, by and through its attorneys, David C. Weiss,

United States Attorney for the District of Delaware, and Christopher R. Howland, Assistant United

States Attorney, to respectfully move to unseal the (1) Application for Search Warrant; (2)

Warrant; (3) Affidavit for Search Warrant, and (4) this Motion to Unseal, filed in the instant case.

In support of this Motion, the United States submits the following:

          I.   On June 23, 2020, the Government submitted an Application for a Search Warrant

related to Defendant's Facebook account, along with an Affidavit in support. The Court granted

the Search Warrant. The Government also requested that the Search Warrant and related materials

be sealed in order to safeguard from public scrutiny certain sensitive information and to ensure the

integrity of the investigation. The Court granted the Government' s request for sealing.

       2.      On September I 0, 2020, the grand jury returned an Indictment charging Defendant

with one count of civil disorder, see 18 U.S.C. §23 1(a)(3). (D.1. 14)

       3.      Counsel for the Government and Defendant have continued to engage in

discussions regarding discovery and other pre-trial matters. The Government has produced a

preliminary discovery packet and continues to be in regular communication with Defendant's
                                                                                             FILED
counsel

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         4.        Defense coW1Sel has requested additional discovery regarding the Government's

investigation, including any forensic reports in the Government's possession. Furthermore, given

the progression of the case, the necessity for continuing to maintain the Search Warrant and related

documents under seal no longer exists.

         WHEREFORE, the Government respectfully requests that the Court grant its Motion to

Unseal the aforementioned (I) Application for Search Warrant; (2) Warrant; (3) Affidavit for

Search Warrant, and (4) this Motion to Unseal. A proposed Order is attached.



                                                     Respectfully submitted,

                                                     DAYID C. WEISS
                                                     United States Attorney

                                                 By:/sl Christopher R. Howland
                                                     Christopher R. Howland
                                                     Assistant United States Attorney
Dated:        October 8, 2020
